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                                                         Exhibit A to the Complaint
Location: Parlin, NJ                                                                               IP Address: 24.186.87.62
Total Works Infringed: 27                                                                          ISP: Optimum Online
 Work      Hashes                                                               UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                           05-26-     Vixen          04-14-2019    05-28-2019   PA0002200761
           557B5DAD5E3CAC1EBF7F510D67437F1D01235D11                             2021
           File Hash:                                                           18:23:20
           E4A62E1A2CC636C13E980133105006A3E70314128FB9CF66A8367FCD1FB98922
 2         Info Hash:                                                           05-26-     Vixen          04-17-2020    04-22-2020   PA0002237694
           5FAD5594FE08DB19A522B5FE69ACEC5092BCE70E                             2021
           File Hash:                                                           18:21:52
           6539C265D26F77A3A6B181568F0521172A9CAF10874D69E6F2F846992747DCF2
 3         Info Hash:                                                           05-26-     Vixen          02-18-2019    03-11-2019   PA0002158598
           2F83CE09B1F20BE375C20F1028CD3FBEF3813FDE                             2021
           File Hash:                                                           17:38:35
           B0CF8CDC8AB738EDE332DBC1B97E7D7E6A7F0F85DE8FDA2BE1DA130155775A70
 4         Info Hash:                                                           05-26-     Tushy          12-20-2020    01-05-2021   PA0002269960
           41173C5F7359A9FC9F286D56CAA3585A9B525A27                             2021
           File Hash:                                                           17:32:44
           6726476A3C0BB654896DD95921CAAA306C2870E19C498587A6AE105DBC5F10CC
 5         Info Hash:                                                           05-26-     Tushy          03-07-2021    03-22-2021   PA0002282503
           5D2BFD8E84BEC03B46E445C517DCD6CB7091A545                             2021
           File Hash:                                                           06:59:08
           E72A5AD2FA19999DE3594E4E11E69AAE595C3F128A09DA5E97317E75BBA0CA28
 6         Info Hash:                                                           05-25-     Blacked        08-15-2020    09-05-2020   PA0002255476
           DDB5B87DD389A7D38E36B58177629B40BE7B74EE                             2021
           File Hash:                                                           21:13:43
           7A635BC050ED42E52C8B861EABDB6DD010C5CC310A60219E2B59B38D1218DE46
 7         Info Hash:                                                           05-25-     Blacked        03-13-2021    03-22-2021   PA0002282509
           43319DCCB518B0A38AF2B73091DD74DE2D11F68C                             2021
           File Hash:                                                           21:09:58
           96FC13D83810C44230AFE045BFAD3603B19F1A98E46ADFE605A0E3798A867F2D
 8         Info Hash:                                                           05-25-     Blacked        02-20-2021    03-08-2021   PA0002280369
           5F686E0618BE3E4B271B6D69151098DC11B29F45                             2021
           File Hash:                                                           21:08:14
           CE89D3CAB34C7A0CE0E491E0F63EE4A94CD12EB47768D364C0CF318BC5C29499
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         05-25-     Tushy     01-03-2021   02-02-2021   PA0002280504
       9F78A2F5EED40C498ABE733F0B017BEB99482A1E                           2021
       File Hash:                                                         20:58:26
       96531365AA131996331F8E2EDCD2D43ABDD4A7DFB4A1E53244F6C5B8A7A94299
10     Info Hash:                                                         05-25-     Blacked   05-22-2021   06-09-2021   PA0002295591
       6438F0772021E1CC3B424B5473C7B33E721935AC                           2021
       File Hash:                                                         20:28:28
       F24E310E89882D63EB8372AE12F5BD9D5DDB72E3A8DF9A367C7990100B96F466
11     Info Hash:                                                         05-25-     Blacked   05-03-2021   06-15-2021   PA0002296918
       42ECAAEDF5FAE1D20495A16EE7297D12DE2F4692                           2021       Raw
       File Hash:                                                         20:23:55
       2119CF5CC787DA3DCDBFB77F08C539EC3AAA2D732B0F6855457713266E2F89B9
12     Info Hash:                                                         11-29-     Blacked   10-31-2020   11-24-2020   PA0002265967
       FB6D45F0A6BD5E28A418EF8AC262EC06C6D4A40B                           2020
       File Hash:                                                         07:20:08
       EE6802769054BFB182B32EB472AE2616FD92D062D9A3A75A2EB5D4BA1B2F0661
13     Info Hash:                                                         11-29-     Tushy     05-16-2018   06-19-2018   PA0002126446
       DFCCBFB7EED852E6617D609C4731A1744A9862A9                           2020
       File Hash:                                                         07:18:53
       092CF263917C04D7FE0B38B7AF9511C6C78FE4544DCFE9E1BFCEF14EC78E29A9
14     Info Hash:                                                         11-29-     Vixen     02-13-2019   03-11-2019   PA0002158413
       3F270D99BA6AD25ECA5DA3F1A19E9EE0BD1A3B75                           2020
       File Hash:                                                         07:06:34
       BC3B31B3647AE5C82A35A0142199F2969DE0DAF9966BA26F68E8D6E2E2FB9748
15     Info Hash:                                                         11-29-     Vixen     03-14-2020   04-17-2020   PA0002246114
       C833D6391C7B9645357E4EC279A5F6FBBBB2E721                           2020
       File Hash:                                                         06:42:23
       9C68DC44E6541FD280E5525827042E28CE3C183C5FD5AEC0B82DEFC98301AF4A
16     Info Hash:                                                         08-24-     Tushy     05-01-2018   06-19-2018   PA0002126640
       E07877B71CF19666B48388AB9C202988860AC477                           2020
       File Hash:                                                         06:57:47
       A322DDC118786F478AF8E88429DB19350012AE87942D7E47B70598691EC6D8EC
17     Info Hash:                                                         08-24-     Vixen     12-15-2018   01-22-2019   PA0002147905
       41B3EC2D6CD45BBF85051632D43E36BAA7523668                           2020
       File Hash:                                                         06:55:25
       4D07D751E827A8C46DE62E42081B735949517A90A8475AAF97AB3299529BF463
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         08-23-     Tushy     04-19-2020   05-05-2020   PA0002249081
       23C598A72BF78E60E2C2BCAC5DD83F13981F067C                           2020
       File Hash:                                                         15:06:28
       0CFEAF4D7C402E3BD65A41CB2AC8F48B6F9D5EF205BABA722F8CEB800B0DC312
19     Info Hash:                                                         08-23-     Vixen     04-24-2018   06-19-2018   PA0002126671
       8A906C5A23F35028EFDE5B9C81D9EE277ACA0275                           2020
       File Hash:                                                         04:22:16
       43D9A39A71EC62D1217BFFF148FE60F03596FFA9FF4E1C286370A80E90AD5222
20     Info Hash:                                                         08-23-     Blacked   05-23-2020   06-22-2020   PA0002245638
       9E44731E8EC3B6FD476E0A33695303251A58C476                           2020
       File Hash:                                                         04:21:05
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140
21     Info Hash:                                                         08-23-     Vixen     04-24-2020   05-05-2020   PA0002249029
       4C68A93F877A55624CFDB1A56B0A09F6226B7DBD                           2020
       File Hash:                                                         04:16:42
       3F282AB81B7EB2031337F302499DA6D6B812DDC12B12599EA08FF65A95F623CA
22     Info Hash:                                                         08-23-     Vixen     01-29-2020   02-20-2020   PA0002229058
       FF16D5C558E22B9BA334778EF92DDCAC4B9C219F                           2020
       File Hash:                                                         04:09:38
       0A6AC3A4977BD540B7DF072701AB010EE0AFC960275C3F4BBE458E3B8FAEF669
23     Info Hash:                                                         08-20-     Tushy     04-01-2018   04-17-2018   PA0002116061
       FF487258F6D9E2E846445A223A569DF217B200E8                           2020
       File Hash:                                                         03:39:44
       B16CC40704C8777313159AF09453C1228654A5E6AAEE05E06CA2EE871A8BB6C2
24     Info Hash:                                                         08-20-     Vixen     09-26-2018   10-16-2018   PA0002127776
       A1D049D475923190FF3A7134A0D2B9F10D62914B                           2020
       File Hash:                                                         03:37:12
       5CC7B2A2F9FDF77BAA9590EA331B4ACA835003E9200CE9B46F9375AB1B4632E8
25     Info Hash:                                                         08-20-     Tushy     08-09-2019   09-11-2019   PA0002199987
       9B0868ADF354DAA85E0ECB8C1DF783A6D1829660                           2020
       File Hash:                                                         03:32:13
       A054D0D2AA55E9326D3B0F091CE06AF5C4E95E0C686E69DEBD44C9F50FB47ACE
26     Info Hash:                                                         08-20-     Tushy     05-31-2018   07-14-2018   PA0002131771
       F445823EE2BB5E4BF4886EB8490DF47ACC438C4E                           2020
       File Hash:                                                         03:32:03
       22227D1C627D8CA3F7FA22811CBBBA6684771E7EC3663464BE82D1F688B65A95
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
27     Info Hash:                                                         08-20-     Tushy   04-06-2018   06-19-2018   PA0002126674
       C4705CDBE06284FCCC4E7C0AFA85554E5CE10645                           2020
       File Hash:                                                         03:17:37
       38CC20179FAA7E2EEEDD06E0F252EBF10C635BDF2F21540B6C96D0A18253BB10
